                 Case 5:96-cr-00005-WTM-JEG Document 535 Filed 03/05/08 Page 1 of 1
  AO 247 (02/08) Order Regarding Motion for Sentence Reduction
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                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                                                                              2UOBHAR-5 A1tM4I
                                                          Southern District of Georgia
                                                                                                             [I
                    United States of America                          )
                                  V.                                  )
                                                                      ) Case No: CR596-00005-01 1
                           Gary Johnson
                                                                      ) USMNo: 09177-021
Date of Previous Judgment: November 18 1996                           ) Johnny Wayne 13rantly_
(Use Date of Last Amended Judgment if Applicable)                     ) Defendant's Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.SC. § 3582(c)(2)

        Upon motion of        the defendant     the Director of the Bureau of Prisons Ljthe court under 18 U.S.C.
  3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
             DENIED.              GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                              the last judgment issued) of 168      months is reduced to          time served

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:      32                                          Amended Offense Level:      30
Criminal Flistory Category: 11!                                          Criminal History Category: III
Previous Guideline Range:    151                 to 188 months           Amended Guideline Range: 121 to 151            months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
   The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
E1 Other (explain):



IlL ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated November 18, 1996, shall remain in effect.
IT IS SO ORDERED.

OrderDate:          March 5, 2008                                       _______________________________________________
                                                                                          Judge's signature


                                                                         William T. Moore, Jr.
Effective Date: March 15, 2008                                           Chief Judge, U.S. District Court
                     (if different from order date)                                            Printed name and title
